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                                                                   U.S. DISTRICT COURT
                                                                      AUG'.'ST.?'! [)\v
                     IN THE XJNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA 2018 QfQ 26 AH I h 05
                              BRUNSWICK DIVISION

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UNITED STATES OF AMERICA                  *
                                          *


        V.                                *        CR 206-004
                                          *        CR 207-054

JAMES LAMAR LYONS                         *




                                    ORDER




     On July 11, 2006, Defendant James Lamar Lyons was convicted

by a jury for possession of firearms and ammunition by a convicted

felon.       He was sentenced to serve 63 months imprisonment followed

by three years of supervised release.^

        Following his release from federal custody, Defendant's term

of supervised release was revoked twice - in January 2015 and June

2017.        With   respect   to   the   June   2017   revocation,       the    Court

determined by a preponderance of the evidence that Defendant had

violated the conditions of his supervised release in numerous ways,

including that he had committed a Grade A violation of illegally

distributing        narcotics.     Defendant    was    sentenced    to   serve       36

months' imprisonment on June 22, 2017.            Defendant's appeal of this

sentence was recently dismissed on October 26, 2018.



1 Defendant was subsequently sentenced to serve an additional
twelve months imprisonment when he was convicted of failing to
surrender for service of his sentence, a violation of 18 U.S.C. §
3146(a)(2).   See United States v. Lyons, Case No. 2:07-CR-054
(S.D.Ga. Sept. 12, 2007).
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     Presently, Defendant has filed a motion for "resentencing and

immediate release."         {Doc. 217.)       Defendant points out that the

state has dismissed the drug charge that underpinned the Court's

finding that he had committed another crime while on supervised

release.    Thus, he argues that there are no longer "any legal

grounds to punish [him] for a Grade A violation."                (Id. at 2.)

     Defendant's challenge          is    a   collateral attack     against the

legality of his sentence, which should be brought pursuant to 28

U.S.C. § 2255.    See Antonelli v. Warden, U.S.P. Atlanta, 542 F.3d

1348, 1352 n.l (11^*^ Cir. 2008).              Defendant, however, fails to

reference   or   cite   §   2255.        Cognizant   of   the   Supreme   Court's

decision in Castro v. United States, 540 U.S. 375 (2003), the Court

declines to construe Defendant's motion as a § 2255 motion.

     Upon the foregoing. Defendant's motion for resentencing and

immediate release (doc. 217 in CR 206-004; doc. 121 in CR 207-054)

is DENIED without prejudice to his ability to file an appropriate

motion under 28 U.S.C. § 2255.


     ORDER ENTERED at Augusta, Georgia, this                       of December,

2018.




                                              j. rand;^ hall, chief judge
                                              UNITm^TATES DISTRICT COURT
                                                 :'HERN DISTRICT OF GEORGIA
